                                  UNITED STATES BANKRUPTCY COURT

                              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re: Kemp Carter                                       ) Chapter 13

                                                         ) Bankruptcy No. 23-10041

                Debtor(s) )

              MOTION TO VACATE DISMISSAL ORDER AND REINSTATE CASE

        Debtor Kemp Carter, by his counsel, Sharon S. Masters, Esquire, hereby moves this
Honorable Court for an Order vacating dismissal order and reinstating Chapter 13 case, and
in support thereof avers as follows:

       1. The debtor(s) filed this Chapter 13 bankruptcy petition on January 8, 2023.

       2. Debtor's case was dismissed with prejudice on June 28, 2023 for failure to make plan
          payments.

       3. Debtor was unable to make plan payments due to loss of income.

       4. Debtor's property is scheduled for Sheriff's Sale on December 5, 2023.

       5. Debtor has applied for an has been waiting for grant of PAHAF funds, which have now been
          approved.

       6. Debtor has resumed employment and is able to make plan payments; he has the $450.00
          necessary to become current.

       7. Debtor is at the point of being able to effectively restructure his debt by reinstating his
          mortgage and pay remaining debt through the Chapter 13 plan.

       8. Debtor will be severely prejudiced if the Sheriff's Sale occurs on December 5; creditors will
          also be prejudiced if the case is not reinstated.
              WHEREFORE, Debtor respectfully requests the Court grant the Motion to Vacate
          Dismissal Order and reinstate the Chapter 13 case.

                                                                 /s/ Sharon S. Masters, Esq.
            Dated: 11/6/2023                                     Sharon S. Masters, Esq.
                                                                 Attorney for Debtor
